

Cicale v Hines 1045 Ave. of the Ams. Invs. LLC (2024 NY Slip Op 05826)





Cicale v Hines 1045 Ave. of the Ams. Invs. LLC


2024 NY Slip Op 05826


Decided on November 21, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 21, 2024

Before: Webber, J.P., Singh, Gesmer, Pitt-Burke, Michael, JJ. 


Index No. 150513/17, 595550/17 Appeal No. 3083 Case No. 2024-00532 

[*1]Anthony Cicale, et al., Plaintiffs-Respondents,
vHines 1045 Avenue of the Americas Investors LLC, et al., Defendants-Appellants. [And A Third-Party Action] 


Barry McTiernan &amp; Moore LLC, New York (Allison A. Snyder of counsel), for appellants.
Jonathan D'Agostino &amp; Associates, P.C., Staten Island (Glen Devora of counsel), for respondents.



Order, Supreme Court, New York County (Shlomo S. Hagler, J.), entered on or about October 18, 2023, which denied defendants' motion for summary judgment dismissing the Labor Law § 240(1) claim as against them, unanimously affirmed, without costs.
Plaintiff Anthony Cicale alleges that he was injured while trying to level a door buck when a two-to-six-inch metal "top track" of a door frame fell approximately two-to-four inches onto his hand. According to plaintiff, the door frame shifted downwards, causing his hand to be immobilized.
Defendants did not establish prima facie entitlement to dismissal of the Labor Law § 240(1) claim as against them. Defendants failed to show that the accident did not arise from an elevation-related risk contemplated by the statute (see Czajkowski v City of New York, 126 AD3d 543, 543 [1st Dept 2015] [affirming summary judgment for the plaintiff on his Labor Law § 240(1) claim where he was injured while removing a window frame and the "unsecured top half of the window fell out of the wall and crushed his hand"]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 21, 2024








